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14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,             Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                 DECLARATION OF KENYA
19 vs.                                          ROTHSTEIN IN SUPPORT OF
                                                PLAINTIFF'S MOTION FOR INTERIM
20 COSUMNES CORPORATION dba                     AWARD OF FEES AND COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee              Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated       Hon. Sean Riordan
   February 6, 2002,
24
                             Defendants.
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     DECLARATION OF KENYA ROTHSTEIN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
     Case 2:20-cv-01703-SCR            Document 189-11          Filed 04/18/25     Page 2 of 5


 1          I, Kenya Rothstein, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I am an associate

 5   attorney with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6   (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9   unless otherwise stated; if called to testify as a witness, I could and would competently testify

10   thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.       In 2016, I graduated from the University of California, Berkeley, with degrees in

13   Legal and Environmental Studies, and then I graduated from the University of Miami School of

14   Law in May 2021.

15          5.       I was admitted to practice law in the state of California in December 2021. I have

16   also been admitted to practice in the U.S. District Court for the Northern District of California, the

17   U.S. District Court for the Central District of California, and the U.S. District Court for the Eastern

18   District of California.

19          6.       I was admitted to practice law in Washington, D.C., in September 2023.

20          7.       I started working with ATA as a law clerk in approximately September 2021. In

21   January 2022, and after passing the bar exam, I began working with ATA as an attorney. I am still

22   employed with ATA as an associate attorney.

23          8.       With ATA, my practice focuses on public interest environmental law matters under

24   both state and federal jurisdictions. I work on a variety of issues, including matters involving

25   federal laws such as the Clean Water Act (“CWA”), Clean Air Act, and Resource Conservation

26   and Recovery Act (“RCRA”). On the state side, my practice includes matters involving the

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     DECLARATION OF KENYA ROTHSTEIN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
     Case 2:20-cv-01703-SCR           Document 189-11         Filed 04/18/25      Page 3 of 5


 1   California Environmental Quality Act (“CEQA”) as well as other California-specific

 2   environmental laws.

 3         9.      My 2025 rate for attorney work in the Eastern District of California is $345 per hour.

 4   Given my experience, skill, and reputation, my rates requested herein are reasonable. Prior to my

 5   admission to the California Bar on December 6, 2021, I worked for ATA conducting law clerk type

 6   work. My 2025 rate for such work in the Eastern District of California is $218 per hour. Given my

 7   experience, skill, and reputation, my rates requested herein are reasonable; this rate was applied for

 8   all work conducted by me prior to my admission to the California Bar.

 9         10.     In July 2024, in Ecological Rights Foundation et al. v. Hot Line Construction, Inc.

10   (5:20-cv-01108-AB-kk), the Central District of California recently found that a rate of $525 per

11   hour was reasonable for my services. Even when compared to the relatively lower rates more

12   common in the Eastern District of California, this rate reflects the reasonableness of the $345

13   hourly rate offered herein.

14      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

15         12.     My involvement in this matter has included several distinct projects. The following
16   is a detailed but non-exhaustive accounting of my participation in this matter. For a complete
17   accounting of the time I spent on this matter, please review my billing entries filed concurrently
18   herewith.
19         13.     For example, in November 2021, I prepared a memorandum regarding whether
20   Plaintiff could voluntarily dismiss its claims and re-file. This involved researching whether such
21   dismissal and refiling would impact Plaintiff’s ability to recover fees if and when it prevailed.
22   That same month, I also researched what regulations applied to determine whether the impacted
23   waters were jurisdictional under the CWA.
24         14.     In January 2022, after I began working with ATA as an attorney, I conducted
25   research regarding whether Plaintiff could seek leave to amend its complaint.
26         15.     And in April 2022, I researched mechanisms to serve a third party where three such
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     DECLARATION OF KENYA ROTHSTEIN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
      Case 2:20-cv-01703-SCR           Document 189-11         Filed 04/18/25      Page 4 of 5


 1    attempts to serve that person failed.

 2          16.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

 3    records that document the time that I spent on this case. I personally and contemporaneously kept
 4
      these records using computer timekeeping software and amended them for clarity documenting the
 5
      hours I worked on this case for which I am seeking to recover an attorney’s fee award.
 6

 7
     I declare, under penalty of perjury under the laws of the State of California that the foregoing is true
 8
     and correct. Executed on the Fifteenth Day of April 2025 in Calabasas, California.
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12                                                                 Kenya S. Rothstein
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     DECLARATION OF KENYA ROTHSTEIN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
                                        Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-11                                                                  Page 5 of 5
Date      Client   Matter     Staff             Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                                Begin researching plaintiff voluntarily dismisses claim under Federal
                                                Rule of Civil Procedure 41(a)(10) and refiles.
                   Murieta
                   Equestrian
  11/3/2021 CCKA   Center     Kenya Rothstein                                                                                      1.0    $218.00            $218.00                                     $0.00                                     0

                                                Continue research on Federal Rule of Civil Procedure 41(a)(1) claims.

                   Murieta
                   Equestrian
  11/4/2021 CCKA   Center     Kenya Rothstein                                                                                      5.0    $218.00           $1,090.00                                    $0.00                                     0

                                                Research on which waters of the United States rule is effective.

                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Kenya Rothstein                                                                                      1.3    $218.00            $283.40                                     $0.00                                     0

                                                Distinguished Johnson and Sprague cases cited by defense counsel and
                                                compared them to the facts of case.
                   Murieta
                   Equestrian
  1/28/2022 CCKA   Center     Kenya Rothstein                                                                                      1.4    $345.00            $483.00                                     $0.00                                     0

                                                Continued analyzing and distinguishing cases and started researching
                                                for Magistrate Barnes orders (ED Cal) re: leave to amend.
                   Murieta
                   Equestrian
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                      3.1    $345.00           $1,069.50                                    $0.00                                     0

                                                Continued researching Magistrate Barnes orders (ED Cal) re: leave to
                                                amend.
                   Murieta
                   Equestrian
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                      1.7    $345.00            $586.50                                     $0.00                                     0

                                                Determined next steps - distinguishing cases cited by defense counsel

                   Murieta
                   Equestrian
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                      0.1    $345.00             $34.50                                     $0.00                                     0

                                                Finalized memo re: leave to amend and added orders by Magistrate
                                                Barnes re: leave to amend.
                   Murieta
                   Equestrian
   2/1/2022 CCKA   Center     Kenya Rothstein                                                                                      0.2    $345.00             $69.00                                     $0.00                                     0

                                                Start research on service options after 3 failed attempts at personal
                                                service on a third party. Read FRCP and CCP on service rules. Email
                   Murieta                      Jason follow up questions.
                   Equestrian
  4/13/2022 CCKA   Center     Kenya Rothstein                                                                                      0.7    $345.00            $241.50                                     $0.00                                     0

                                                Continue research on service options after 3 failed attempts at personal
                                                service on a third party trustee.
                   Murieta
                   Equestrian
  4/15/2022 CCKA   Center     Kenya Rothstein                                                                                      0.8    $345.00            $276.00                                     $0.00                                     0
                                                Totals                                                                         15.3                         $4,351.40                                    $0.00                                     0




                                                                                                            Page 1 of 1
